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                                                                         U.S. Department of Justice

                                                                         United States Attorney
                                                                         District of New Jersey
                                                                         Civil Division

 _____________________________________________________________________________________________________________________

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                                                                         April 30, 2018

 By ECF and U.S. Mail

 Hon. Susan D. Wigenton
 United States District Judge
 King Fed. Bldg. & United States Courthouse
 50 Walnut Street, P.O. Box 999
 Newark, New Jersey 07101

                     Re:       United States v. Hull, et al. No. 09-1303 (SDW) (LDW)

 Dear Judge Wigenton:

       As directed by the Court at the hearing on April 26, 2018 in the above-
 referenced matter, the United States submits the enclosed proposed order.

           Thank you for your attention to this matter.

                                                               Sincerely,


                                                               CRAIG CARPENITO
                                                               United States Attorney


                                                      By:      /s Michael E. Campion
                                                               MICHAEL E. CAMPION
                                                               Assistant United States Attorney

 cc: Spencer B. Robbins, Esq. (by ECF and email)
